           Case 2:12-cr-00247-GMN-PAL            Document 18        Filed 09/04/12      Page 1 of 3



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 6                                UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8   UNITED STATES OF AMERICA,                           )
                                                         )
 9                           Plaintiff,                  )
                                                         )
10           v.                                          )           2:12-CR-247-GMN-(PAL)
                                                         )
11   ENOC ADRIAN RENTERIA,                               )
                                                         )
12                           Defendant.                  )

13                             PRELIMINARY ORDER OF FORFEITURE

14          This Court finds that on July 19, 2012, defendant ENOC ADRIAN RENTERIA pled guilty

15   to a One-Count Criminal Information charging him with Conspiracy to Commit Health Care Fraud

16   in violation of Title 18, United States Code, Sections 371 and 1347. Information, ECF No. 4; Plea

17   Agreement, ECF No. 7; Minutes of Change of Plea Proceedings, ECF No. 9.

18          This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States of America

19   has shown the requisite nexus between the property set forth in the Forfeiture Allegations of the

20   Criminal Information and agreed to in the Plea Memorandum and the offense to which defendant

21   ENOC ADRIAN RENTERIA pled guilty. Criminal Information, ECF No. 4; Plea Agreement, ECF

22   No. 7; Minutes of Change of Plea Proceedings, ECF No. 9.

23           The following asset is subject to forfeiture pursuant to Title 18, United States Code, Section

24   982(a)(7); Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States Code,

25   Section 2461(c); and Title 18, United States Code, Sections 24, 371, and 1347:

26   ...
           Case 2:12-cr-00247-GMN-PAL             Document 18        Filed 09/04/12       Page 2 of 3



 1                   a.      $64,497.10 in United States Currency, seized on May 21, 2012, from Chase

 2                   Bank account ending in 9340.

 3            This Court finds the United States of America is now entitled to, and should, reduce the

 4   aforementioned property to the possession of the United States of America.

 5            NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the

 6   United States of America should seize the aforementioned property.

 7            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest of

 8   ENOC ADRIAN RENTERIA in the aforementioned property is forfeited and is vested in the United

 9   States of America and shall be safely held by the United States of America until further order of the

10   Court.

11            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of America

12   shall publish for at least thirty (30) consecutive days on the official internet government forfeiture

13   website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited property, state

14   the time under the applicable statute when a petition contesting the forfeiture must be filed, and state

15   the name and contact information for the government attorney to be served with the petition,

16   pursuant to Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code, Section 853(n)(2).

17            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be

18   filed with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101.

19            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if any,

20   shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at the

21   following address at the time of filing:

22                   Michael A. Humphreys
                     Assistant United States Attorney
23                   Daniel D. Hollingsworth
                     Assistant United States Attorney
24                   Lloyd D. George United States Courthouse
                     333 Las Vegas Boulevard South, Suite 5000
25                   Las Vegas, Nevada 89101.

26   ...
         Case 2:12-cr-00247-GMN-PAL             Document 18        Filed 09/04/12      Page 3 of 3



 1          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described herein

 2   need not be published in the event a Declaration of Forfeiture is issued by the appropriate agency

 3   following publication of notice of seizure and intent to administratively forfeit the above-described

 4   property.

 5          DATEDthis
            DATED this______
                       4th day ofofSeptember,
                             day              2012.
                                    __________________, 2012.

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 7                                                  ________________________________
                                                    Gloria M. Navarro
 8                                                  UnitedSTATES
                                                   UNITED  States District
                                                                   DISTRICTJudge
                                                                               JUDGE

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